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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF COLORADO

IN RE:                                                                  CASE NO. 14-22739-MER
WILSON, LIISA BETH

                                                                        CHAPTER 13

                  DEBTOR(S)


                                CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


The Standing Chapter 13 Trustee moves to dismiss the case based on the following:

1.   The Debtor(s) failed to make the payments required by the Plan .

         A. The Plan and/or current modified Plan requires the Debtor (s) to pay the current sum of $512.00 per
            month.

         B. The total paid into the Plan through January 08 , 2019 is $24,514.00, the last payment having been
            received by the Trustee on November 19 , 2018.

         C. Payment of $1,536.00 is required to be current through January 08 , 2019.

2. The Debtor(s) failure to comply with the requirements for relief under Chapter 13 , Title 11, United States Code
   is prejudicial to creditors.

     WHEREFORE, the Trustee requests that this case be dismissed pursuant to 11 U.S.C. § 1307.




Dated: January 8, 2019                                         By: /s/ Karen Perse
                                                                       Karen Perse
                                                                       for Chapter 13 Trustee
                                                                       4725 S. Monaco St., Ste. 120
                                                                       Denver, CO 80237
                                                                       Phone: 720.398.4444
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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO

IN RE:                                                                   CASE NO. 14-22739-MER
WILSON, LIISA BETH

                                                                         CHAPTER 13

                  DEBTOR(S)


                         NOTICE OF CHAPTER 13 TRUSTEE'S MOTION TO DISMISS



                              OBJECTION DEADLINE: January 29, 2019
YOU ARE HEREBY NOTIFIED that Douglas B. Kiel, Chapter 13 Trustee, has filed a Chapter 13
Trustee’s Motion to Dismiss with the bankruptcy court and requests the following relief:

                         Trustee seeks dismissal of the Chapter 13 case due to non-payment .

If you oppose the motion or object to the requested relief your objection and request for hearing must be filed on or
before the objection deadline stated above , served on the movant at the address indicated below , and must state
clearly all objections and any legal basis for the objections . The court will not consider general objections .

In the absence of a timely, substantiated objection and request for hearing by an interested party , the court may
approve or grant the requested relief without any further notice to creditors or other interested parties .




DATED: January 8, 2019                                          By: /s/ Karen Perse
                                                                        Karen Perse
                                                                        for Chapter 13 Trustee
                                                                        4725 S. Monaco St., Ste. 120
                                                                        Denver, CO 80237
                                                                        Phone: 720.398.4444
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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF COLORADO

IN RE:                                                                  CASE NO. 14-22739-MER
WILSON, LIISA BETH

                                                                        CHAPTER 13

                  DEBTOR(S)


                                           CERTIFICATE OF SERVICE


I hereby certify that a copy of the Chapter 13 Trustee’s Motion to Dismiss , and Notice of Chapter 13 Trustee’s
Motion to Dismiss was placed in the U.S. Mail, postage pre-paid, on January 8, 2019.

LIISA BETH WILSON                                       MCCARTHY & HOLTHUS LLP
7755 E QUINCY AVE #67                                   ATTN: HOLLY SHILLIDAY ESQ
DENVER, CO 80237                                        7700 E ARAPAHOE RD
                                                        STE 150
                                                        CENTENNIAL, CO 80112
MCCARTHY & HOLTHUS LLP                                  MOELLER GRAF PC
ATTN: JENNIFER K CRUSETURNER ESQ                        K CHRISTIAN WEBERT
7700 E ARAPAHOE ROAD                                    385 INVERNESS PARKWAY
STE 150                                                 STE 200
CENTENNIAL, CO 80112                                    ENGLEWOOD, CO 80112
SYNCHRONY BANK                                          WELLS FARGO BANK NA
C/O RECOVERY MANAGEMENT SYSTEMS                         DEFAULT DOCUMENT PROCESSING
CORP                                                    1000 BLUE GENTIAN ROAD
25 SE 2ND AVE SUITE 1120                                EAGAN, MN 55121-7700
MIAMI, FL 33131-1605
WELLS FARGO HOME MORTGAGE
ATTENTION: BANKRUPTCY DEPARTMENT
MAC
#D3347-014
3476 STATEVIEW BLVD
FORT MILL, SC 29715


Notice by Electronic Transmission was sent to the following persons/parties:
DAVID C HOSKINS PC


DATED: January 8, 2019                                         /s/ Madison Mills
                                                                   Madison Mills
